Case 1-24-42000-JmmMm Doc l Filed Vs/lo/z4 Entered Vo/ioic4 Leiloi4/

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United States Bankruptcy Court for the: . a a

District of

(State) “
Case number (if own): Chapter_|1_ = ein fA | Q Check if this is an

a”
at

fs Pals be * amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 04/22

if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

4. Debtor's name | { QO, L4 : | 5 idle Co re.

2. All other names debtor used

In the last 8 years

include any assumed names,

trade names, and doing business

as names
3. Debtor's federal Employer [\_ 2857625
Identification Number (EIN) 9
4 Debtor's address Principal place of business Mailing address, if different from principal place
of business
(1F- oO Le Vis Ae LAR \Y0-S2 16 wh
Number Street Number Street
P.O. Box
Kew (arson dy I X¥ Fi mshaiAr Ny (i326 7
City State’ ZIP Code City Co State/ ZIP Code

Location of principal assets, if different from
; principal place of business
Ly Yerny
County

Number Street

City State ZIP Code

8. Debtor's website (URL)

Official Form 201 Voluntary Petition for Non-individuals Filing for Bankruptcy page 1
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Debtor { | % (t 7 | | >! { q Cy L. Case number {it known),
Ware |

@ Corporation (including Limited Liability Company (LLC) and Limited Liability Parinership (LLP))

(C) Partnership (excluding LLP)

Cl Other. Specify:

6. Type of debtor

A. Check one:

() Health Care Business (as defined in 11 U.S.C. § 101(27A))
iw Single Asset Real Estate (as defined in 11 U.S.C. § 101 (57B))
( Railroad (as defined in 11 U.S.C. § 101(44))

©) Stockbroker (as defined in 11 U.S.C. § 101(53A))

Q Commodity Broker (as defined in 11 U.S.C. § 101(6))

(Cl Clearing Bank (as defined in 11 U.S.C. § 781(3))

C] None of the above

7. Describe debtor's business

B. Check all that apply:

(] Tax-exempt entity (as described in 26 U.S.C. § 501)

(2 investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C,
§ 80a-3)
C) investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11)}

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
hitp:/Avww.uscourts.gov/our-digit-national-association-naics-codes .

8. Under which chapter of the Check one:
Bankruptcy Code is the
debtor filing? C3 Chapter 7
OQ] Chapter 9

Ww Chapter 11. Check all that apply:

(2 Debtor's aggregate noncontingent liquidated debis (excluding debts owed to
insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
4/01/25 and every 3 years after thal).

(2 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). if the
debtor is a small business debtor, attach the most recent balance sheel, statement
of operations, cash-flow statement, and federal income tax return or if all of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(8).

The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
chooses to proceed under Subchapter V of Chapter 11.

Cl A plan ts being filed with this petition.

(2 Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

CJ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

(J The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule

42b-2.
(J Chapter 12
9. Were prior bankruptcy cases (No
Waninine eet Syears? | Yes. Dist When Case number
MM/ DD/YYYY
eee eases, attach a sec Soe __ case number

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
Case 1-24-42000-JmmMm Doc l Filed Vs/lo/z4 Entered Vo/ioic4 Leiloi4/

Debtor \ “| ill0e COV, Case number
fame q
10. Are any bankruptcy cases Tk No
pending or being filed by a
business partner or an C3 Yes. Debtor Relationship
affiliate of the debtor? District When

List all cases. If more than 1,
attach a separate list.

11. Why is the case filed In this
district?

12. Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

MM / DD /YYYY

Case number, if known

Check all that apply:

a Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a fonger part of such 180 days than in any other
district.

Q A bankruptcy case conceming debtor's affiliate, general partner, or ‘partnership is pending | in th this district.

BNo

Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
Why does the property need immediate attention? (Check all that apply.)

© it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

C) It needs to be physically secured or protected from the weather.

(C2 It includes perishable goods or assets that could quickly deteriorate or tose vaiue without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or secutities-related
assets or other options).

C) Other

Whore Is the proparty?.

Number Street

City State ziP Code

Is the property Insured?

C) No
Cl Yes. insurance agency

Contact name

Phone

2122-0 and administrative Information

43. Debtor's estimation of
available funds

14, Estimated number of
creditors

Official Form 201

Check one:

QO Funds will be available for distribution to unsecured creditors.
After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

@ 149 {] 1,000-5,000 C) 25,001-50,000
O 50-99 C) 5,001-10,000 (2 50,001-100,000
C) 100-199 (2 10,001-25,000 C2] More than 100,000
C) 200-999
Voluntary Petition for Non-Individuats Filing for Bankruptcy page 3
Case 1-24-42000-Jmm Docl Filed Vs/lo/z4 Entered Vo/ioic4 Leiloi4/

¢ (
Debtor ue ‘\ itl Stee Ls vf Case number

C} $0-$50, 000 Q $1,000,001-$10 million (2 $500,000,001-$1 billion

16. Estimated assets (2 $50,001-$100,000 C) $10,000,001-$50 million (C2 $1,000,000,001-$10 bition
C2 $100,001-3500,000 (2 $50,000,001-$100 mittion C2 $10,000,000,001-$50 billion
Gt $500,001-$4 million CJ $100,000,001-$500 million C2 More than $50 billion

QO $0-$50,000 : 8 $1,000,001-$10 mittion - a $500,000,001-$1 bition

16. Estimated liabilities CG $50,001-$100,000 C] $10,000,001-$50 mittion (2 $1,000,000,001-$16 billion
© $100,001-$500,000 (2 $50,000,001-$100 million (2 $10,000,000,001-$50 billion
C2] $500,001-31 million C2] $100,000,001-$500 million 2 More than $50 billion

BE «3. for Relief, Declaration, and Signatures

WARNING — Bankruptcy fraud Is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17, Declaration and signature of The debtor requests relief in accordance with the chapter of tite 11, United States Code, specified in this
authorized representative of ;
debtor petition.

I have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penatty of perjury that the foregoing Is true and correct.

Executedon _-> [1] 2024
MM dys a
Signature of au resentative of debtor Printed name

1a, Signature of attorney x — A. yo , oan 3/9 ie
Signature of attpmay or debtor MM DD /YYYY
thal lo Zelinget, ES4-
a els Lt Moers, at |
io. OL Cun Q. Rrewt, at
alkane J NY Ho4S¢

9 S29- 2770. “i, | [2e! nal! i Am [: Lan
Contact phone Email address
352-9991 New Yo-{x

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
Case 1-24-42000-JmmMm Doc l Filed Vs/lo/z4 Entered Vo/ioic4 Leiloi4/

at MTG MUD MULLER Coli Com (eter n | La am Cheers toe

Debtor name Ww" (4 Asie

United States Bankruptcy Court for the:

C2 Check if this is an
Case number (if known): amended filing

Official Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims and Are Not Insiders 12115

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A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as dofined in 14 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20

largest unsecured claims.

Name of creditor and complete Name, telephone number, and Nature of the claim Indicate if | Amount of unsecured claim
mailing address, Including zip code email address of creditor {for example, tade claim is if the claim is fully unsecured, fill in only unsecured
contact debts, bank loans, contingent, claim amount. if claim is partially secured, fill in
professional untiquidated, total claim amount and deduction for value of
services, and ordisputed  cojtaterat or setoff to calculate unsecured claim.
goverment
contracts)
Totaiclaim, if Deductionfor Unsecured
partlally value of claim
secured — or
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Official Form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims page 1
Case 1-24-42000-JmmMm Doc l Filed Vs/lo/z4 Entered Vo/ioic4 Leiloi4/

Debtor Case number gf known)
Name of creditor and compiete Name, telephone number, and Nature of the claim indicate # Amount of unsecured claim
mailing address, including zip code emait address of creditor (for example, trade claim is If the claim is fully unsecured, fill in only unsecured
contact debts, bank loans, contingent, claim amount. if claim is partially secured, fill in
professional unliquidated, total claim amount and deduction for value of
services, and or disputed —coflateral or setoff to calculate unsecured claim.
government
contracts)
Total claim,if Deductionfor Unsecured
partially value of claim
secured collateral or
setoff

10

11

12

13

14

%

16

17

18

19

20

Official Form 204

Chapter 14 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims page 2
Case 1-24-42000-JmmMm Doc l Filed Vs/lo/z4 Entered Vo/ioic4 Leiloi4/

2

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Reo chester Ny iYGoY

C

Q) Maral yizhal
It-st 16 rd

FLashung vy 1367

3) fla GerFeld sack Cc.
39S Bread way New York |

loco]

